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     Exhibit 20 (part 1)




     Exhibit 20 (part 1)
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Advancing Medical Innovation
for a Healthier America
Executive Summary
July 2015
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Former U.S. Senate Majority Leader
BPC Senior Fellow

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Former Member, U.S. House of Representatives



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ABOUT THE INITIATIVE ON FDA: ADVANCING MEDICAL INNOVATION
The Bipartisan Policy Center’s initiative on FDA: Advancing Medical Innovation is developing viable policy options to advance medical
innovation and reduce the time and cost associated with the discovery, development, and delivery of safe and effective drugs and
devices for patients in the United States. Former Senate Majority Leader William H. Frist, MD and former U.S. Representative Bart
Gordon co-chair this initiative. The advisory committee members of the initiative are Marc Boutin, JD, CEO, National Health Council;
Mark McClellan, MD, PhD, senior Fellow and director, Health Care Innovation and Value Initiatives, Center for Health Policy, Brookings
Institution; and Patrick Soon-Shiong, MD, chairman and CEO, Institute for Advanced Health. Janet Marchibroda, BPC’s Health Innovation
director, serves as the staff director for the effort.

ACKNOWLEDGEMENTS
This paper was produced by the Bipartisan Policy Center (BPC) with input and guidance received from our distinguished co-chairs and
advisory committee.

BPC would like to thank and acknowledge BPC staff Janet Marchibroda, Tim Swope, and Sam Watters, as well as Julie Cantor-Weinberg,
Eric Caplan, Gregory W. Daniel, and Erin Ingraham Rogus for their contributions in research and writing. BPC would also like to thank
Joann Donnellan, Ann Gordon, and Ashley Ridlon for their feedback and support.

Further, BPC would also like to acknowledge the broad and diverse range of experts and stakeholders who offered their expertise and
feedback through one-on-one meetings, roundtable discussions, and events.

DISCLAIMER
The findings and recommendations expressed herein do not necessarily represent the views or opinions of the Bipartisan Policy Center’s
founders or its board of directors.




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Letter from the Co-Chairs
The nation is at a turning point in modern health care. To usher in this new age of digitally-driven, personalized care, federal agencies
must be equipped to keep the United States at the forefront of medical innovation. As former members of Congress, we are well aware of
the ability of the government’s ability to either incentivize or stifle industry growth and advancements.

One area in which the United States still has significant work to do is in finding the next generation of cures; for the 10,000 known
diseases, there are only 500 treatments. How can this be changed? That is what we seek to answer in this report. Through extensive
research and interviews with industry, patient groups, academia, government, and legislators, we have developed viable policy actions
that Congress can take to reduce both the time and cost of developing and delivering safe and effective medical products to patients.

Our report focuses specifically on how to modernize the development of drugs and devices. This includes the activities of the Food and
Drug Administration (FDA)—the regulatory agency that oversees the safety and effectiveness of medical products sold in the United
States. One out of every $4 spent by consumers each year is on an FDA-approved product, including drugs, devices, food, and tobacco.
Expensive development and lengthy approval processes can slow access to new technologies; a new drug on average takes nearly $2
billion and a decade to make it to market. With increased consumer cost-sharing, expensive drugs and devices are already becoming out
of reach for many Americans. And for those facing a disease with potential life-saving treatments in trials, the clock is ticking entirely
too slowly.

Thankfully, modernizing the process of discovering, developing, and delivering medical products has become a key focus for
policymakers this year and we seek to add to and inform ongoing efforts.

Our recommendations focus on improving the medical product development process, improving regulatory clarity, strengthening the
FDA’s ability to carry out its mission, and increasing investment in medical products to address unmet and public health needs—all of
which are expected to improve our nation’s competitiveness in the global marketplace.

Americans cannot afford to rely on 20th century methodologies when the world is on the cutting edge of new health technologies. The
hardworking FDA employees must be given the tools and support they need to succeed in this rapidly evolving field. It’s time to take
action to significantly advance medical innovation in the United States.




Senator William H. Frist, MD                                          Representative Bart Gordon
Former U.S. Senate Majority Leader                                    Former Member, U.S. House of Representatives
Chair, Bipartisan Policy Center Initiative on                         Co-Chair, Bipartisan Policy Center Initiative on
FDA: Advancing Medical Innovation                                     FDA: Advancing Medical Innovation




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Introduction                                                         progress across all therapeutic domains has been inconsistent.4

The past two decades have been marked by unparalleled advances       The notable progress in oncology and virology has not been
in science and technology. Public- and private-sector investment     matched by similar breakthroughs in many other therapeutic
in biomedical research has exceeded $100 billion per year over the   areas. Few novel treatments for mood disorders and other brain-
last ten years.1                                                     based diseases have emerged over the past several decades,
                                                                     despite considerable investment and the enormous impact of
In this century alone, the nation has witnessed a number of          these diseases on patients, their loved ones, and the communities
significant breakthroughs—most notably the recent cure for           where they reside.5,6,7,8 A number of promising drugs and biologics
Hepatitis C, a disease that according to the U.S. Centers for        developed to arrest the course of Alzheimer’s disease have yielded
Disease Control and Prevention (CDC) currently affects more than     disappointing results.9,10 America’s wounded warriors continue to
three million Americans.2,3 Americans have also seen advances        lack demonstrably effective treatments, let alone cures, for their
in oncology, through new treatments based on new genetic             invisible wounds.
understanding. However, even the most bullish proponents of
pharmaceutical, biotechnology, and medical device innovations        Many substantial unmet medical needs remain and tens of
acknowledge that the United States has only scratched the surface    millions of Americans have neither cures nor effective treatments
when it comes to addressing unmet medical needs. Furthermore,        for what ails them.


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There are literally hundreds of examples, including:                     of the disease by just five years. And those figures don’t even
    • In 2015, there will be an estimated 1,658,370 new cancer           account for the benefits of alleviating the physical and emotional
      cases diagnosed and 589,430 cancer deaths in the                   toll on families and loved ones; dementia caregivers had $9.7
      United States.11                                                   billion in additional health care costs of their own in 2014.17

    • An estimated 5.3 million Americans suffer from Alzheimer’s         While the United States has invested more than $1.5 trillion in
      disease.12 It is the only disease among the top ten causes         research and development (R&D) over the past two decades,
      of death in the United States that cannot be prevented             it is not clear that such investments have given rise to a
      or cured.                                                          commensurate level of progress in the discovery, development,
    • Approximately 60,000 Americans are diagnosed with                  and approval of medical products.
      Parkinson’s disease each year, and this number does not
      reflect the thousands of cases that go undetected. An
      estimated seven to ten million people worldwide are living
      with Parkinson’s disease.13
    • Heart disease (which includes heart disease, stroke, and
      other cardiovascular diseases) remains the No. 1 cause of
      death in the United States, killing nearly 787,000 people
      alone in 2011.14

The personal and familial challenges generated by these
diseases—and the more than 10,000 other known diseases for
which fewer than 500 approved treatments exist—tell only part of
the story.15

The extraordinary cost of care for those for whom neither cures
nor effective treatments are available threatens to overwhelm
America’s social safety net and significantly constrain the capacity
to address equally pressing challenges at home and abroad.

For example, Americans spend more than $250 billion annually
to care for people with Alzheimer’s disease. Absent a cure or an
effective treatment that alters the course of the disease, this figure
is expected to exceed $1.2 trillion by 2050.16 But that cost could
be cut by a third and could reduce the number of Americans with
Alzheimer’s by 42 percent in 2050 by delaying the average onset



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Figure 1: Overall Trend in R&D Efficiency (inflation-adjusted)18,19




As noted in Figure 1, the level of R&D efficiency, defined by the       regulators throughout the phases of discovery, development, and
number of new drugs brought to the market per billion of U.S.           evaluation. Congress plays a critical role in removing barriers and
dollars of R&D spending, has declined fairly steadily over the last     creating an environment that accelerates the development and
60 years.18 BPC’s extension of Scannell et al’s analysis of R&D         delivery of safe and effective medical products.
efficiency shows slight improvements over the last year.19
                                                                        We have identified policy actions that Congress should take to
The most reliable studies suggest it costs approximately $2             accelerate medical innovation, and reduce both the time and cost
billion and takes more than a decade to bring a new drug to             of developing and delivering safe and effective drugs and devices
market.20,21,22,23 The average cost of successfully launching a new     to patients.
molecular entity differs little between large pharmaceutical or
                                                                        It is important to note that actions associated with improving
small biotechnology companies.
                                                                        medical product discovery, such as increased federal support of
Improving the efficiency of R&D and development of safe and             biomedical research, are also needed, but are not the focus of
effective medical products requires significant action on the part of   this report.
academic researchers, the life sciences industry, and government




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Recommended policy actions fall into four primary areas,
recommendations for which are outlined below and explained in
our full report:
    1. Improving the Medical Product Development Process
    2. Increasing Regulatory Clarity
    3. Strengthening the FDA’s Ability to Carry out its Mission
    4. Increasing Investment in Medical Products to Address
       Unmet and Public Health Needs

Together, these recommendations not only reduce the time and
cost associated with the development and delivery of medical
products, they are also expected to considerably increase the
competitiveness of U.S. companies in the global marketplace.

This report recommends various actions that should be taken to
advance medical innovation. Many of these recommendations
could require additional resources not now available within
the FDA’s $4.8 billion annual budget. If additional funding is
required to implement the recommendations of this report,
the FDA budget should be carefully reviewed and assessed to
determine if current, existing programs remain priorities relative
to these recommendations. If they become lower priorities, then
reallocating existing resources within the FDA budget, or related
health agencies’ budgets should first be considered as additional
resources. Second, if a net increase in funding is necessary to
fund these recommendations, then additional resources should
be provided through reduced federal spending from automatic
spending programs (e.g. entitlements), increased user fees,
revenues, or a combination of all three. The goal is to improve the
health of the American public, but not at the expense of making
the federal ledger less healthy.




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Improving the Medical Product                                          18 months, begin implementation of a program within 24
Development Process                                                    months, and issue final guidance within 48 months.
                                                                     2. Direct FDA to develop a framework for modernizing
1.1 Congress should accelerate the generation and use of
                                                                        the traditional, randomized, large-scale (Phase III) clinical
more relevant evidence to support the development and delivery
                                                                        trials model of evidence development for regulatory review,
of drugs and devices, and enable assessment of the full range
                                                                        engaging experts and stakeholders through a collaborative
of factors not easily characterized in randomized clinical trials,
                                                                        public process. The framework should provide an approach
more precise design of clinical trials, and better decision making
                                                                        and regulatory requirements for incorporating data from
regarding value and coverage, by performing the following:
                                                                        pragmatic, randomized studies of broader populations
    1. Require FDA to develop a program to evaluate and prioritize      where care is provided under more typical settings, in
       the use of real-world evidence—including data from               addition to data from randomized clinical trials.
       both clinical and patient experience—to support post-
                                                                     3. Promote public- and private-sector investment in the
       approval study requirements, approval of new indications
                                                                        development of a broad-based, nationwide virtual
       for existing medical products, and ultimately improved
                                                                        infrastructure to obtain more robust real-world evidence
       clinical trials used for regulatory review. The FDA should
                                                                        on both the safety and effectiveness of drugs and devices.
       engage stakeholders and experts in this process. To support
       this work, require FDA to develop a detailed plan within

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1.2 Congress should improve and expand the qualification                     1. Require FDA to develop—through a collaborative public
and use of biomarkers to facilitate the development of safer                    process—guidance on PROs that contains the following:
and more effective medical products and increase the efficiency                  a. A standard, consistent process for submission, review,
and effectiveness of the drug development process, by taking the                    and qualification of PRO instruments;
following actions:
                                                                                 b. Description of the requirements for entities seeking
     1. Require FDA to establish a framework and process                            qualification, reasonable timelines for FDA review of
        for the submission, review, and qualification of drug                       submissions, and processes by which both entities and
        development tools.                                                          FDA may consult with biomedical research consortia or
     2. Authorize and strongly encourage FDA to engage with                         others with expert knowledge and insights; and
        experts and stakeholders through biomedical research                     c. A conceptual framework describing appropriate
        consortia, to support the review of qualification submissions.              standards and scientific approaches to support
     3. Improve transparency of drug development tool-related                       the development of PRO instruments.
        activities by requiring FDA to make information regarding            2. Create a mechanism to improve communication
        the number of qualification-related requests and plans                  between FDA and sponsors regarding the development of
        submitted and the number of drug development tools                      approaches for the use of PRO instruments.
        qualified, publicly available.
                                                                         1.4 Congress should assure the incorporation of patient
     4. Require FDA to develop—through a collaborative public
                                                                         perspectives into benefit-risk assessment associated
        process—guidance on biomarkers which contains:
                                                                         with regulatory decision-making for drugs, by taking the
          a. A conceptual framework describing appropriate               following actions:
             standards and scientific approaches to support
                                                                             1. Require FDA to establish and implement a process under
             development;
                                                                                which an entity may submit patient preference data to
          b. Recommendations for demonstrating the predictability               enhance a structured risk-benefit framework.
             of surrogate endpoints for purposes of supporting
                                                                             2. Require FDA to publish guidance regarding process and
             accelerated approval; and
                                                                                timelines for the submission of patient preference data;
          c. Description of the requirements for entities seeking               methodological considerations and approaches for both
             qualification, reasonable timelines for FDA review,                collection and assessment of such data for benefit-risk;
             and processes by which both entities and FDA may                   and methodologies, standards, and potential experimental
             consult with biomedical research consortia or others               designs for patient-reported outcomes.
             with expert knowledge and insights.
                                                                             3. To provide regulatory clarity and a predictable environment
1.3 Congress should improve and expand the use of patient-                      for communications, specify that the exchange of truthful
reported outcomes (PROs) through the following actions:                         and non-misleading information among patients, patient
                                                                                caregivers, or patient advocates and medical or scientific


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      staff of a manufacturer, the purpose of which is to discover          3. Require FDA and the U.S. Trade Representative to report on
      and understand patient or caregiver perspectives related                 progress on international standards harmonization.
      to the specific disease from which a patient suffers, shall           4. Encourage FDA to participate in mechanisms that facilitate
      not be considered promotion or commercialization of the                  the sharing of best practices internationally.
      investigational drug or biologic, or a violation of the Federal
                                                                            5. Encourage FDA to explore reciprocity of approval among
      Food Drug and Cosmetic Act.
                                                                               highly developed trading partners for well-understood drug
1.5 Congress should further clarify and allow increased                        or device classes or products for which there is high unmet
sharing of scientific information regarding off-label use of                   medical need.
approvHG medical products with health care professionals,
                                                                        1.7 Congress should improve the interoperability of health
through the following actions:
                                                                        information technology (IT) by requiring the following:
    1. Require FDA to issue rules which clarify how manufacturers
       can disseminate truthful, non-misleading, scientific                 1. Require the federal government to adopt standards for
       information about a drug or device that is not included in              health IT.
       the approved labeling for the product.                                   a. Federally adopted standards should include those
    2. Create a safe harbor for the dissemination of truthful and                  required for accurate identification and matching
       non-misleading, clinically relevant, peer-reviewed literature               of patient data, provider identification, transport,
       and other information on off-label use of drugs to health                   terminologies, clinical models, clinical data query
       care professionals.                                                         language, security, and application interfaces.

    3. Require drug manufacturers to share data on safety and                  b. Federal adoption should encompass inclusion of
       efficacy for offlabel uses with researchers, regulators,                  standards within certified electronic health record
       and insurers, for the purpose of rapidly validating                        (EHR) technology required under the Centers for
       emerging uses for established therapies.                                    Medicare and Medicaid Services (CMS) Medicare and
                                                                                   Medicaid EHR Incentives Programs, health IT systems
1.6 Congress should promote harmonization of international                         procured by federal agencies, various electronic health
standards, through the following:                                                  data submissions required by federal agencies, and
    1. Require FDA to establish a clear process for recognizing                    health IT systems directly funded through federal
       standards for medical devices and require the FDA to                        agency contracts, grants, and cooperative agreements.
       publish guidance regarding such process.                             2. To assure that federal agencies comply with federal
    2. Encourage FDA’s commitment to and actions related to the                standards, require each federal agency to report annually
       harmonization of international standards, including, but not            on its compliance with federally adopted standards and
       limited to, those related to manufacturing facilities.                  require the Government Accountability Office to issue a
                                                                               report, every two years, on federal compliance with
                                                                               such standards.


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     3. Designate responsibility for identification of standards
        for federal adoption to the Director of the Office of
        Management and Budget (OMB), with support from the
        National Coordinator for Health IT.
     4. Require that any standards for federal adoption are (1)
        developed by a voluntary consensus body as defined by
        the National Technology Transfer and Advancement Act
        and OMB Circular A-119, (2) tested prior to adoption,
        and (3) established through formal rulemaking and a
        collaborative, public process, to assure appropriate
        public input and transparency.
     5. Require that standards for federal adoption be published
        annually and that effective dates for adoption should not
        occur until at least 12 months subsequent to publication.
     6. Authorize the Director of OMB and the National Coordinator
        for Health IT to use federal advisory committees to assist
        with the identification of areas for which standards are
        needed and evaluation of standards against established
        criteria for federal adoption, to inform federal decision-
        making.
     7. To promote testing and validation of standards adoption
        and interoperability of systems, direct the National Institute
        of Standards and Technology (NIST) to develop and make
        publicly available methods for testing compliance with
        federal standards and authorize federal agencies to
        recognize independent testing and certification bodies
        that will provide assurance that software complies with
        federally adopted standards.




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Increasing Regulatory Clarity                                              3. Clarify that current law enables those who develop and
                                                                              implement health IT to participate in patient safety activities
2.1 Congress should provide further clarity regarding                         and direct the HHS secretary to extend confidentiality
regulatory authority associated with health IT and assure the                 protections to health IT developers to permit them to report
implementation of a risk-based oversight framework for health                 patient safety events, view patient safety organization-
IT that both promotes innovation and protects patient safety, by              protected information, receive and analyze patient safety
performing the following:                                                     event reports, create and receive quality improvement
    1. Clarify that health IT should not be subject to regulation as          reports from patient safety organizations, and work with
       a medical device by the FDA, except when determined by                 providers to develop strategies for improvement.
       the HHS secretary that the product poses a significant risk
                                                                       2.2 Congress should clarify regulatory authority related to
       to patient safety.
                                                                       laboratory-developed tests (LDTs) by performing the following:
    2. Require the HHS secretary to recognize independent bodies
                                                                           1. Require the development of a risk-based regulatory
       to develop voluntary consensus standards, evaluate and
                                                                              framework for the regulation of LDTs that promotes
       render decisions on compliance with such standards, and
                                                                              innovation, protects patient safety, and avoids regulatory
       facilitate voluntary patient safety reporting to continually
                                                                              duplication.
       improve the development, implementation, and use of
       health IT.
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     2. Require consideration of the relevant proposals of patient,               e. Address areas of overlap and regulatory uncertainty
        physician, industry, and laboratory stakeholders including                   as it relates to the role of FDA and CMS through its
        but not limited to those of the Diagnostic Test Working                      Clinical Laboratory Improvement Amendments
        Group and the College of American Pathologists, when                         (CLIA) authorities.
        developing the risk classification scheme.                            4. Require FDA to examine its current risk classification
     3. Notwithstanding the FDA’s October 3, 2014 draft guidance,                scheme for traditional IVDs to ensure that it aligns with the
        Framework for Regulatory Oversight of Laboratory                         unique nature of risk associated with diagnostic tests. FDA
        Developed Tests (LDTs), require that the framework:                      would be required to provide a report on this examination
         a. Specify a risk classification for LDTs.                              within two years to Congress. Like LDTs, IVDs do not pose
                                                                                 risks of direct harm, in and of themselves, to patients.
              i. Risk should be defined in terms of the risk that the
                 test produces unreliable or inaccurate information       2.3 Congress should improve regulatory clarity associated
                 that is used to make a clinical decision; this differs   with precision medicine by establishing a working group that
                 from the risk posed by therapeutic devices which         includes the FDA, the NIH, NIST, and the Office of the National
                 could cause direct bodily harm;                          Coordinator for Health IT (ONC), which would develop and submit
              ii. Such classification should align the risk               a report to Congress. The report should characterize the rapidly
                  classification of an individual LDT for a given         evolving precision medicine landscape and develop a risk-
                  indication with the risk classification of an IVD for   based regulatory framework for precision medicine that protects
                  the same intended use; and                              patient safety, promotes innovation, and is flexible enough to
                                                                          accommodate rapid changes in science. The working group should
              iii. Further, such classification scheme should take
                                                                          leverage and build upon existing efforts of federal agencies, as
                   into account the control in place for a given LDT
                                                                          well as the President’s Precision Medicine Initiative.
                   (i.e., the presence or absence of accreditation,
                   proficiency tests or other means to ensure             2.4 Congress should improve the consistency of combination
                   laboratory test quality).                              product reviews and address delays associated with the
         b. Ensure that clinical validity information on LDTs is          development and evaluation of combination products through
            developed and available for each LDT;                         the following actions:

         c. Assure that information on diagnostic errors stemming             1. Amend the Food, Drug, and Cosmetic Act to provide greater
            from LDTs are available to the public (e.g., false                   clarity regarding designation of combination products.
            positives and false negatives);                                   2. Require FDA to take actions to address the lack of
         d. Leverage the information available in the existing NIH               coordination and agreement among collaborative centers
            Genetic Test Registry to achieve the framework’s                     regarding requirements, the timeliness of response, and
            goals; and                                                           the lack of clarity regarding data requirements.




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    3. Require FDA to publish a timely list of decisions to requests   3. Authorize and encourage FDA to use public-private
       for designation (i.e., which FDA center has primary                partnerships to develop and draft guidance documents
       jurisdiction) and encourage FDA to abide by precedent              requiring significant scientific input, while leaving final
       when faced with a similar combination product, unless the          approval authority with the agency.
       FDA can present a rationale for making a different decision.    4. Explore and address administrative barriers to finalize
    4. Require FDA to track and issue reports that demonstrate            guidances.
       that milestone meetings involving sponsors and FDA are
       meaningfully attended by the non-lead FDA center(s),
       and that reviewers in non-lead centers have completed
       their reviews within timelines consistent with user fee
       performance goals of the coordinating center, e.g., the
       new molecular entity review model expectations and
       the principles outlined in the Good Review Management
       Practices.

2.5 Congress should improve the regulatory framework for
regenerative medicine by performing the following:
    1. Require FDA to provide additional clarity regarding the
       regulation of regenerative medicine, specifically addressing
       adult autologous stem cell therapy.
    2. Encourage FDA’s recognition of the unique nature of
       stem cell therapeutics, in particular autologous or similar
       therapies, and the fact that they require a different
       regulatory approach than that applied to traditional drugs
       or biologics. Explore the creation of a new regulatory
       category separate from HCT/P 351 or 361.

2.6 To improve FDA’s process for creating guidances and
regulations, Congress should perform the following:
    1. Require FDA to seek public input on a guidance
       prioritization scheme.
    2. Clarify that FDA should use formal rulemaking processes
       when making substantive policy changes.



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